           Case 2:11-cr-00254-GEB Document 30 Filed 10/13/11 Page 1 of 2


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2    1007 7th Street, Suite 319
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3    Telephone: (916) 442-5230
4    Attorney for:
     Alisha Grim
5
6
7                        IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.   2:11-cr-00254 GEB
                                   )
11                  Plaintiff,     )        STIPULATION AND [PROPOSED] ORDER
                                   )        CONTINUING CHANGE OF PLEA
12        v.                       )
                                   )
13   Alisha Grim, et. al.          )        DATE: October 14, 2011
                                   )        TIME: 9:00 a.m.
14                  Defendants.    )        COURT: Hon. Garland Burrell, Jr.
     ______________________________)
15
16                                   Stipulation
17        The parties, through undersigned counsel, stipulate that the
18   change of plea, scheduled for October 14, 2011, may be continued to
19   October 28, 2011, at 9:00 a.m.             Counsel for Alisha Grim has a
20   conflicting evidentiary/sentencing hearing in an unrelated case in
21   another jurisdiction at the time currently set for the change of plea
22   in the instant case.
23        Further, the parties, agree and stipulate that the ends of
24   justice   served    by   granting   this   continuance   outweigh     the   best
25   interests of the public and the defendant in a speedy trial.           As such,
26   the parties agree that time may be excluded from the speedy trial
27   calculation under the Speedy Trial Act for counsel preparation,
28   pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.

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              Case 2:11-cr-00254-GEB Document 30 Filed 10/13/11 Page 2 of 2


1         The government has authorized the defense counsel for Alisha Grim
2    to sign this stipulation on her behalf.
3
4    DATED: October 12, 2011                        BENJAMIN WAGNER
                                                    United States Attorney
5
6                                          by       /s/ Scott N. Cameron, for
                                                    Michelle Rodriguez
7                                                   Assistant U.S. Attorney
8
     DATED: October 12, 2011
9                                          by       /s/ Scott N. Cameron
                                                    Scott N. Cameron
10                                                  Counsel for Alisha Grim
11
12
                                            Order
13
          Good cause appearing,
14
          The change of plea, scheduled for October 14, 2011, is continued
15
     to October 28, 2011, at 9:00 a.m.              The Court finds that the ends of
16
     justice    served    by   granting    this      continuance   outweigh      the   best
17
     interests of the public and the defendant in a speedy trial in this
18
     case.    Time is excluded from the speedy trial calculation pursuant to
19
     18   U.S.C.    §    3161(h)(7)(B)(iv)      and    Local   Code   T4   for    counsel
20
     preparation.
21
          IT IS SO ORDERED.
22
23   Dated:    October 13, 2011

24
25                                        GARLAND E. BURRELL, JR.
                                          United States District Judge
26
27
28

                                                2
